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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

v.                               No. 4:12CR00041-08 JLH

ELAINE MARIE SWANN                                                           DEFENDANT

                                         ORDER

       Without objection, Elaine Marie Swann’s motion for early termination of probation is

GRANTED. Document #361. Swann’s term of probation is terminated, and she is hereby

discharged.

       IT IS SO ORDERED this 16th day of September, 2014.




                                                J. LEON HOLMES
                                                UNITED STATES DISTRICT JUDGE
